    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 1 of 55 PageID #:596




                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

THE CONNECTORS REALTY                       )
GROUP CORPORATION, DARRYL                   )
WILLIAMS and ANTOINE NASH,                  )
                                            )
       Plaintiffs,                          )
                                            )      No.     19-cv-00743
       v.                                   )
                                            )      Honorable Charles P. Kocoras
STATE FARM FIRE & CASUALTY                  )
COMPANY,                                    )
                                            )
       Defendant.                           )
                                            )

                     AMENDED CLASS ACTION COMPLAINT (corrected)

       Plaintiff, THE CONNECTORS REALTY GROUP CORPORATION (“Connectors”),

DARRYL WILLIAMS (“Darryl Williams”) and ANTOINE NASH (“Antoine Nash” or “Nash”)

(collectively “Plaintiffs”), by their attorney, Kenneth Anspach, for their Amended Complaint

against Defendant, STATE FARM FIRE AND CASUALTY COMPANY (“State Farm”),

alleges and avers as follows:
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 2 of 55 PageID #:597




                                    JURISDICTION AND VENUE

          1.       Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1981, 1982 and 1988, Title

VIII of the Civil Rights Act of 1968 (the “Fair Housing Act”), 42 U.S.C. § 3604(a) and (b) and

the Fourteenth Amendment to the United States Constitution.

          2.       This Court has jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C. §§ 1331

and 1343(a)(3).

          3.       Venue is proper pursuant to 28 U.S.C § 1391(b) because a substantial part of the

events giving rise to the claims herein occurred in this district.

                                               COUNT I

               [Violations of Fair Housing Act, 42 U.S.C. § 3604(a) and (b) – Connectors]

          4.       At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

          5.       State Farm maintains data regarding loss experience on its homeowners and small

business insurance organized by ZIP Code for the City of Chicago, Illinois. State Farm shields

this data from the public, and stores it in secured areas and by electronic means. State Farm

considers this data a trade secret and has gone to great lengths to protect and safeguard its secret

status.

          6.       The vast majority of ZIP Codes are heavily predominated by only one racial

group.

          7.       State Farm utilizes this ZIP Code data to “redline” by ZIP Code homeowners and

small business insurance claims by treating as presumptively fraudulent claims from

policyholders residing in black-majority ZIP Codes on the South and West Sides of the City of

Chicago by processing such claims as presumed fraudulent through its Special Investigations



                                                    2
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 3 of 55 PageID #:598




Unit, by denying legitimate claims from these black-majority ZIP Codes for being purportedly

fraudulent or for other pretextual reasons, by unreasonably delaying payment of such legitimate

claims, by underpaying such legitimate claims and by failing and refusing to pay such legitimate

claims.

          8.    State Farm’s treatment of such claims from black-majority ZIP Codes on the

South and West Sides of the City of Chicago as presumptively fraudulent results in State Farm

engaging racial discrimination by treating insurance claims filed by blacks unequally from those

filed by whites due to the race of the claimant.

          9.    Representative of State Farm’s racially discriminatory treatment of homeowners

and small business insurance claims in the City of Chicago is State Farm’s treatment of claims

filed by Plaintiffs.

          10.   At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate.

          11.   Darryl Williams, a former Deputy U.S. Marshall and a public safety officer, is

African-American, a member of a racial minority, and the sole shareholder and owner of

Connectors. Darryl Williams is the person through whom all communications and transactions

for Connectors, his wholly-owned corporation, were carried on with State Farm.

          12.   Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement. Connectors purchased the

Premises in April, 2016 for the approximate sum of $75,000, and expended an additional

$75,000 in repairs and maintenance upon purchase.



                                                   3
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 4 of 55 PageID #:599




       13.     At some time previous to January 5, 2017, Connectors contacted State Farm for

property insurance coverage at the Premises and for other buildings owned by Connectors.

       14.     Pursuant to an underwriting investigation by State Farm that occurred

immediately prior to issuance of an insurance policy for the Premises, State Farm inspected the

Premises and determined that the Premises was fully occupied, that all of the operating systems

on the Premises, including heat, electrical, plumbing and boilers, were fully operational, that the

Premises met State Farm’s standards for insurability, and that the replacement value of the

Premises was in excess of $800,000.00. For the stated reason of saving on premium cost, State

Farm recommended to Connectors that the Premises be insured for a replacement value amount

of $400,000.00, instead of $800,000.00.

       15.     On or about January 5, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”) for property and liability

insurance on the Premises. A certified copy of the Policy is attached hereto as Exhibit “A”.

       16.     Under the terms of the Connectors Policy, State Farm insured Connectors against

loss and damage to the Premises, including, inter alia, water damage, equipment breakdown,

theft and vandalism in the amount of $400,000.00, plus loss of income for one year from date of

loss, with a deductible in the amount of $2,500.00.

       17. On January 10, 2017, while the Connectors Policy was in full force, there occurred a

below freezing weather event (the “Weather Event”) in Chicago, Illinois. One of the tenants at

the Premises, Lynette Crawley, left a bathroom window open in Unit 2R of the Premises during

this Weather Event.

       18.     As a result of the Weather Event and the Lynette Crawley’s action, the Premises

suffered loss and damage, and Connectors filed a corresponding claim with State Farm to which



                                                 4
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 5 of 55 PageID #:600




State Farm assigned Claim No. 13-0670-8L5, under which the pipes froze and burst, causing

damage to the walls, floors, ceilings, drywall, electric, heating and gas, pipelines, and water tank,

resulting in loss and damage in the amount of $86,155.00.

       19.     Claim No. 13-0670-8L5 also included Connectors’ claim for loss of rental income

for one year at the rate of $3,850.00 per month, for a total amount of $46,200.00.

       20.     On August 4, 2017 Connectors submitted a Sworn Statement in Proof of Loss

(“Proof of Loss”) under State Farm Claim No. 13-0670-8L5 in the amount of $86,155.00 for

damage to the walls, floors, ceilings, drywall, electric, heating and gas, pipelines, and water tank

and loss of rental income for one year at the rate of $3,850.00 per month, for a total amount of

$46,200.00 for loss of rental income, for a total amount claimed under the Proof of Loss for State

Farm Claim No. 13-0670-8L5 in the amount of $132,355.00.

       21.     As an additional result of the Weather Event and the Lynette Crawley’s action,

the Premises suffered additional loss and damage, to which State Farm assigned a second claim

number, i.e., Claim No. 13-1390-8S1, and an additional deductible, under which the boilers were

damaged by water from the burst pipes, causing the boilers to be submerged in water, rusted and

inoperable, all of which resulted in loss and damage in the amount of $60,000.00.

       22.      Connectors submitted a Sworn Statement in Proof of Loss in the amount of

$60,000.00 minus a $5,000.00 deductible, for a total amount of $55,000.00 for State Farm Claim

No. 13-1390-8S1, receipt of which was acknowledged by State Farm on September 5, 2017.

       23.      State Farm Claim No. 13-1390-8S1 has neither been paid to Connectors nor

denied by State Farm.

       24.     As a further result of the Weather Event and the Lynette Crawley’s action, the

Premises suffered additional loss and damage, to which State Farm assigned a third claim



                                                  5
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 6 of 55 PageID #:601




number, i.e., Claim No. 13-1390-8N9, and an additional deductible, under which a commercial

unit experienced loss and damage to pipes, shelves, equipment, ceilings, walls, flooring,

radiators, gas lines, collapse of front of store, electric lines being down and hanging, and gas

lines being down, all of which resulted in loss and damage in the amount of $116,955.00.

       25.      On August 11, 2017 Connectors submitted a Sworn Statement in Proof of Loss in

the amount of $116,955.00 minus a $5,000.00 deductible, for a total amount of $111,955.00, for

State Farm Claim No. 13-1390-8N9.

       26.     Because the boilers were inoperable as a result of the Weather Event and Lynette

Crawley’s action, and because State Farm failed and refused to repair or replace the boilers, and

because all the residents (who were also all African-American) except for one family that failed

to pay rent vacated the Premises and stayed in a hotel at Connectors’ expense, the Premises was

almost entirely unoccupied except for the one remaining family that failed to pay rent and two

storefronts.

       27.     Following Connectors’ eviction of that one remaining family, the Premises laid

vacant and was ripe for theft and vandalism.

       28.     On February 4, 2017, while the Connectors Policy was in full force, force and

while the Premises laid vacant as a result of the Weather Event, Lynette Crawley’s action and

State Farm’s failure to pay the above claims, there occurred a theft and vandalism at the

Premises to which State Farm assigned a fourth claim number, i.e., Claim No. 13-0790-6C6, and

an additional deductible. As a result of the theft and vandalism, Connectors suffered loss and

damage at the Premises under which copper pipes, copper plumbing fixtures, fire alarm system,

fire extinguishers, lights, smoke detectors, carbon monoxide detectors were stolen, second floor

stairwell was vandalized, light bulbs were broken, back and front doors were broken down and



                                                 6
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 7 of 55 PageID #:602




torn off the hinges, the door in the apartment bedroom was torn off the hinges, a kitchen electric

outlet was vandalized, 6 industrial heaters were stolen, cabinets were torn down and stolen, the

ceilings and hallway were vandalized, the windows on the second and third floor were broken,

the walls were vandalized, the radiators on second and third floors were torn off, and holes were

made in the walls on the second floor, resulting in loss and damage in the approximate amount of

$120,000.00.

       29.     On April 23, 2017, while the Connectors Policy was in full force and while the

Premises laid vacant as a result of the Weather Event, Lynette Crawley’s action and State Farm’s

failure to pay the above claims, there occurred a theft at the Premises. As a result of the theft,

the Premises suffered loss and damage, to which State Farm assigned a fifth claim number, i.e.,

Claim No. 13-1390-8K9, and an additional deductible, under which Connectors suffered loss and

damage in the amount of $48,500.00.

       30.      On August 11, 2017 Connectors submitted a Sworn Statement in Proof of Loss in

the amount of $48,500.00 minus a $5,000.00 deductible, for a total amount of $43,500.00 for

State Farm Claim No. 13-1390-8K9.

       31.     On April 17, 2017, while the Connectors Policy was in full force, there occurred a

hail event (the “Hail Event”) in Chicago, Illinois.

       32.     As a result of the Hail Event, the Premises suffered loss and damage, and

Connectors filed a corresponding claim with State Farm to which State Farm assigned Claim No.

13-1390-8F4 under which the third floor roof had a hole caused, ceiling, drywall were damaged

which resulted in loss and damage in the amount of $17,500.00.

       33.      On August 11, 2017 Connectors submitted a Sworn Statement in Proof of Loss in

the amount of $17,500.00 for State Farm Claim No. 13-1390-8F4.



                                                  7
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 8 of 55 PageID #:603




       34.      Claim No. 13-0670-8L5, Claim No. 13-1390-8S1, Claim No. 13-1390-8N9,

Claim No. 13-0790-6C6, Claim No. 13-1390-8K9 and Claim No. 13-1390-8F4 are hereinafter

collectively referred to as the “Connectors’ Claims.”

       35.      Tina Beavers, who is Caucasian, was the State Farm employee and claim adjuster

assigned to State Farm Claims No. 13-0670-8L5, State Farm Claim No. 13-1390-8S1 and State

Farm Claim No. 13-1390-8N9, all of which arose out of the Weather Event as set forth above.

       36.      Between January 10, 2017 and January 20, 2017 Darryl Williams had several

telephone conversations with Tina Beavers. During these conversations Tina Beavers asked who

was living at the Premises and how the Weather Event and resulting losses happened. Darryl

Williams told her that Lynette Crawley left the bathroom window open because it was hot in her

apartment. Tina Beavers requested the leases for all the tenants at the Premises and she said she

wanted to speak to Lynette Crawley. Darryl Williams gave her the leases for all the tenants at the

Premises on the date of the Weather Event; the leases contained the tenants’ contact information.

Darryl Williams also told her that because the pipes burst the heat was not working and all the

tenants had moved to hotels and were sending him the bills. Darryl Williams told her he needed

State Farm to reimburse Connectors inter alia for the lost rent.

       37.      After trading telephone voicemails several times, on January 20, 2017 in the

morning Tina Beavers returned Darryl Williams’ telephone call and they had the following

conversation:

       Tina Beavers said, “Are you sure someone was living there (meaning Unit 2R)?

       Darryl Williams said, “Yes. Somebody’s living there.”




                                                 8
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 9 of 55 PageID #:604




       Tina Beavers said, “Well, I couldn’t get a hold of her. Do you have any other phone

number for her?”

       Darryl Williams said, “No.”

       Tina Beavers said, “Well, you get a hold of her, if she really exists.”

       Darryl Williams said, “That’s not my job to get a hold of her. I gave you all the

information.”

       Tina Beavers said, “You mean to tell me you people don’t use Facebook and other social

media and you don’t know any of her homeys who could get in contact with her?”

        Darryl Williams said, “What the hell do you mean about ‘you people’?”

       Tina Beavers said, “We have a lot of fraud in your area.”

       Darryl Williams said, “What do you mean by ‘your area?’”

       Tina Beavers said, “South Side of Chicago and you all’s neighborhoods.”

       Darryl Williams said, “I thought we could live anywhere. I didn’t know we had

neighborhoods.”

       Tina Beavers said, “Don’t act like you don’t know what I’m talking about. Just be

truthful with me.”

       Darryl Williams said, “So you think black folks lie about everything anyway. You don’t

believe any damn thing we say anyway. I, frankly, think it’s fuckin’ offensive for you calling us

‘you people” and I’m reporting this.”

       Tina Beavers laughed and said, “Do what you have to do.”

       38.      Tina Beavers’ statement that there is “a lot of fraud” in the “South Side of

Chicago and you all’s neighborhoods,” is an accurate description of State Farm’s view and

treatment of claims from black majority ZIP Codes in the City of Chicago. As set forth above



                                                  9
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 10 of 55 PageID #:605




State Farm treats as presumptively fraudulent claims from policyholders residing in black-

majority ZIP Codes on the South and West Sides of the City of Chicago by processing such

claims as presumed fraudulent through its Special Investigations Unit, by denying legitimate

claims from these black-majority ZIP Codes for being purportedly fraudulent or for other

pretextual reasons, by unreasonably delaying payment of such legitimate claims, by underpaying

such legitimate claims and by failing and refusing to pay such legitimate claims.

       39.     State Farm’s targeting of such claims by ZIP Code and its intention thereby to

discriminate on the basis of race in its treatment of claims of policyholders from black-majority

ZIP Codes is confirmed by Tina Beavers’ use of racial epithets in describing African-Americans

as “homeys” and “you people,” and by describing where African-Americans reside as “your

areas” and “you all’s neighborhoods.”

       40.     State Farm’s targeting of such claims by ZIP Code and its intention thereby to

discriminate on the basis of race in its treatment of claims of policyholders from black-majority

ZIP Codes in the City of Chicago is also confirmed by an analysis of performed by R. Hasegawa

and A. Wyner, The Wharton School of the University of Pennsylvania, on statistical evidence

from the Illinois Department of Insurance. They conclude based upon an analysis that the odds

that a property insurance claim remains outstanding and unpaid at the end of the calendar year in

a ZIP Code with a 75% black population is 23% higher than a claim made in a ZIP Code with a

25% black population with comparable median incomes. While this analysis was performed on

ZIP Code-level data on property insurance claims made upon all companies authorized to write

homeowner’s insurance in the State of Illinois, State Farm has the largest market share of the

homeowner’s insurance market in the City of Chicago.




                                                10
    Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 11 of 55 PageID #:606




         41.   Pursuant to its practice of treating claims from black majority ZIP Codes as

presumptively fraudulent, State Farm, did, in fact, process all of Connectors’ claims as

presumptively fraudulent through the Special Investigations Unit. The Special Investigation

Unit's official responsibilities are limited to investigation of purported claims of fraud. In other

words, instead of investigating the Connectors’ Claims, State Farm initiated an investigation of

Darryl Williams and Connectors for insurance fraud.

         42.   Immediately following his January 20, 2017 telephone conversation with Tina

Beavers, Darryl Williams did complain to State Farm regarding the aforesaid conduct of Tina

Beavers and requested that another adjuster be assigned to those Connectors’ Claims to which

she was assigned.

         43.   As a result of Darryl Williams’ complaint, sometime in February, 2017 he

received a telephone call from Special Investigations Unit Team Leader Roger Krupp. At that

time Roger Krupp stated in reference to Darryl Williams’ conversation with Tina Beavers, “We

don't practice that way at State Farm. I apologize for anything she said that you were offended

by, and she will no longer be your claims adjuster.”

         44.   Despite Roger Krupp’s promise to reassign the Connectors’ Claims, when Darryl

Williams telephoned State Farm several times during February-April, 2017 regarding the status

of Connectors’ Claims and asked to speak to a new claims representative, his calls were always

routed to Tina Beavers. Tina Beavers said at that time, “You're stuck with me. I'm the person;

that's it.”

         45.   Pursuant to letter from Tina Beavers dated March 24, 2017, State Farm denied

Claim No. 13-0670-8L5.




                                                 11
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 12 of 55 PageID #:607




       46.     Roger Krupp called again and said, “We'll get you someone else.” Then Darryl

Williams’ calls to State Farm were routed to a new claims representative. Then he was switched

several more times to other representatives. Pursuant to letter dated April 27, 2017, the claim

was reassigned to Thomas Wegner, Claim Specialist in the Special Investigation Unit.

       47.     Then sometime after the March 24, 2017 claim denial Roger Krupp called back

and said, "I've got good news for you. The claim has been approved. They've got to go calculate

how much it will be and I will get back to you." However, Darryl did not receive the promised

claim payment. During the subsequent period until October 16, 2017 Darryl Williams had a

number of telephone conversations with Roger Krupp who told him alternatively that payment

had been approved, payment had been mailed, the check had been lost, and the check had been

sent to the wrong address. During these conversations Roger Krupp praised Darryl Williams for

his patience and for being a “gentleman” and a “standup guy.”

       48.     During this period Connectors and Darryl Williams spent approximately $200,000

of Connectors’ funds and Darryl Williams’s personal funds that he diverted from other personal

obligations in order to pay his residents’ hotel bills and repair bills for the Premises to attempt to

maintain the Premises while Connectors waited for State Farm’s promised payment of the

Connectors’ Claims.

       49.     During this same period due to there being no heat at the Premises as a result of

the Weather Event and State Farm’s failure to pay the Connectors’ Claims and the Premises

thereby becoming a public nuisance in violation of various provisions of the Municipal Code of

the City of Chicago, the City of Chicago brought both judicial and administrative actions against

Connectors in the following actions: (1) City of Chicago v. The Connectors Realty Group

Corporation, et al., docketed in the Circuit Court of Cook County, Illinois Case No. 2017 M1-



                                                  12
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 13 of 55 PageID #:608




400127; (2) City of Chicago v. Connect Realty Group, et al., docketed in the City of Chicago,

Department of Administrative Hearings as Case No. 16BT05507A; and (3) City of Chicago v.

The Connectors Realty Group Corporation, et al., docketed in the City of Chicago, Department

of Administrative Hearings as Case No. 17BT00771A (collectively, the “Actions”). On

February 8, 2018 Connectors tendered the Actions to State Farm and demanded that State Farm

defend and indemnify Connectors in the Actions, which State Farm failed and refused to do. As

a result, Connectors paid an additional tens of thousands of dollars in fines to the City of Chicago

and a like amount in legal fees for its defense.

       50.     On or about September 1, 2017 in order to stop the hemorrhaging of cash in

Connectors’ attempt to maintain the Premises, Connectors sold the Premises for an amount that

did not nearly recompense Connectors for the monies set forth above that Connectors and Darryl

Williams expended due the Weather Event and State Farm’s failure to pay the Connectors’

Claims and for the fines and legal fees incurred in the Actions.

       51.     Because of Darryl Williams’s use of his own personal funds that he diverted from

other obligations due to State Farm’s failure to pay the Connectors’ Claims as set forth above,

Darryl Williams’s personal residence is now in foreclosure and he is working at six different jobs

to work himself out of the financial hole created by State Farm.

       52.     Connectors’ Claims, with the exception of Claim No. 13-0670-8L5, were never

paid, leaving an unpaid amount on those claims of $345,455.50. Claim No. 13-0670-8L5, in the

amount of $132,355.00, was paid piecemeal beginning on October 16, 2017 and never paid in

full, leaving a balance due and owing on Claim No. 13-0670-8L5 in the amount of $76,776.29.

No payment was made before Darryl Williams and Connectors were forced to sell the Premises




                                                   13
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 14 of 55 PageID #:609




for lack of funds that otherwise would have enabled Connectors to continue to own the Premises

due to State Farm’s failure to pay the proceeds due and owing on the Connectors’ Claims.

       53.     Connectors has performed all conditions precedent under the Connectors Policy

on its part to be performed to be paid on the Connectors’ Claims.

       54.     Title VIII of the Civil Rights Act of 1968 (the “Fair Housing Act”), 42 U.S.C.

U.S.C. §3604(a) and (b) provides, in pertinent part, as follows:

               As made applicable by section 3603 of this title and except as
               exempted by sections 3603(b) and 3607 of this title, it shall be
               unlawful—

               (a) To refuse to sell or rent after the making of a bona fide offer, or
               to refuse to negotiate for the sale or rental of, or otherwise make
               unavailable or deny, a dwelling to any person because of race,
               color, religion, sex, familial status, or national origin.

               (b) To discriminate against any person in the terms, conditions, or
               privileges of sale or rental of a dwelling, or in the provision of
               services or facilities in connection therewith, because of race,
               color, religion, sex, familial status, or national origin.


       55.     24 C.F.R. § 100.70, promulgated thereunder, provides, in pertinent part, as

follows:

               ***

               (b) It shall be unlawful, because of race, color, religion, sex,
               handicap, familial status, or national origin, to engage in any
               conduct relating to the provision of housing or of services and
               facilities in connection therewith that otherwise makes unavailable
               or denies dwellings to persons.

               ***

               (d) Prohibited activities relating to dwellings under paragraph (b)
               of this section include, but are not limited to:

               ***

               (4) Refusing to provide…property or hazard insurance for
               dwellings or providing such…insurance differently because of
                                                 14
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 15 of 55 PageID #:610




                 race, color, religion, sex, handicap, familial status, or national
                 origin.


       56. Because of Darryl Williams’ race, State Farm refused to pay insurance claims for

which Darryl Williams and Connectors were entitled to be paid and/or failed to pay Darryl

Williams and Connectors adequate proceeds as measured by the proofs of loss and claims

amounts on the Connectors’ Claims to cover loss and damage to the Premises.

       57.       This loss and damage made the Premises unlivable.

       58.       State Farm handled the Connectors’ Claims differently because of Darryl

Williams’ race.

       59.       The failure of State Farm to pay the Connectors’ Claims in full and in a timely

manner deprived Darryl Williams and Connectors of ownership of housing.

       60.       The different handling of the Connectors’ Claims and the failure of State Farm to

pay the Connectors’ Claims in full and in a timely manner constituted the providing of property

insurance “differently because of race.”

       WHEREFORE, Connectors demands judgment against State Farm as follows:

       A.        Judgment for actual damages under the Fair Housing Act, 42 U.S.C. § 3613(c)(1)

in the amount of $422,231.29, with interest thereon at the rate of 5% plus interest and costs;

       B.        Judgment for punitive damages under the Fair Housing Act, 42 U.S.C. §

3613(c)(1) in the amount of $250,000,000 or such other sum as will deter future violations of the

Fair Housing Act, 42 U.S.C. U.S.C. §3604(a) and (b);

       C.        A permanent injunction under 42 U.S.C. § 3613(c)(1) restraining State Farm from

continuing to:




                                                   15
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 16 of 55 PageID #:611




       i.      Treat homeowners and small business insurance claims from black majority ZIP

Codes in the City of Chicago as presumptively fraudulent;

       ii.     Process homeowners and small business insurance claims from black majority

ZIP Codes in the City of Chicago as presumptively fraudulent through State Farm’s Special

Investigations Unit;

       iii.    Deny legitimate homeowners and small business insurance claims from black

majority ZIP Codes in the City of Chicago as being purportedly fraudulent;

       iv.     Refuse and fail to pay, delay the payment of, and make inadequate payment of

homeowners and small business insurance claims from black majority ZIP Codes in the City of

Chicago; and

       v.      Discriminate on the basis of race in the processing and payment of homeowners

and small business insurance claims from black majority ZIP Codes in the City of Chicago.

       D.      Awarding reasonable attorney’s fees and costs pursuant to 42 U.S.C. §

3613(c)(2); and

       E.      For such other and further relief as the Court deems appropriate.

                                             COUNT II

                       [Violations of 42 U.S.C. §§ 1981 and 1982 – Connectors]

       1-50. Plaintiffs repeat and reallege paragraphs 4-53 of Count I of this Amended

Complaint as and for paragraphs 1-50 of Count II.

       51.     42 U.S.C. § 1981 provides as follows:

               (a) Statement of equal rights
               All persons within the jurisdiction of the United States shall have
               the same right in every State and Territory to make and enforce
               contracts…

               (b) "Make and enforce contracts" defined

                                                 16
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 17 of 55 PageID #:612




               For purposes of this section, the term "make and enforce contracts"
               includes the making, performance, modification, and termination
               of contracts, and the enjoyment of all benefits, privileges, terms,
               and conditions of the contractual relationship.

               (c) Protection against impairment
               The rights protected by this section are protected against
               impairment by nongovernmental discrimination and impairment
               under color of State law.

       52.     42 U.S.C. § 1982 provides as follows:

               All citizens of the United States shall have the same right, in every
               State and Territory, as is enjoyed by white citizens thereof to
               inherit, purchase, lease, sell, hold, and convey real and personal
               property.


       53.     But for the racially discriminatory conduct of State Farm, the Connectors’ Claims

would have been paid in full.

       54.     State Farm, by and through its racially discriminatory conduct as set forth

hereinabove, has intentionally discriminated against Connectors and Darryl Williams, the latter

by virtue of his being African-American, a member of a racial minority, and the sole owner and

operator of Connectors, and the Premises being located in a black-majority ZIP Code in the City

of Chicago in violation of 42 U.S.C. § 1981. State Farm thereby prevented Connectors and

Darryl Williams from enjoying the benefits, privileges, terms, and conditions of the contractual

relationship between Connectors and State Farm under the Connectors Policy that would have

been enjoyed by white citizens, in violation of 42 U.S.C. §§ 1981 and 1982.

        55.    As a direct and proximate result of State Farm’s racially discriminatory conduct

as set forth hereinabove, Connectors and Darryl Williams has been damaged in the unpaid

amounts of the Connectors’ Claims, totaling $422,231.29.

       WHEREFORE, Connectors demands judgment against State Farm as follows:



                                                17
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 18 of 55 PageID #:613




       A.      Judgment for compensatory damages under 42 U.S.C. §§ 1981 and 1982 in the

amount of $422,231.29, with interest thereon at the rate of 5% plus interest and costs;

       B.      Judgment for punitive damages in the amount of $250,000,000 or such other sum

as will deter future violations of 42 U.S.C. §§ 1981 and 1982;

       C.      A permanent injunction under 42 U.S.C. §§ 1981 and 1982 restraining State Farm

from continuing to:

       i.      Treat homeowners and small business insurance claims from black majority ZIP

Codes in the City of Chicago as presumptively fraudulent;

       ii.     Process homeowners and small business insurance claims from black majority

ZIP Codes in the City of Chicago as presumptively fraudulent through State Farm’s Special

Investigations Unit;

       iii.    Deny legitimate homeowners and small business insurance claims from black

majority ZIP Codes in the City of Chicago as being purportedly fraudulent;

       iv.     Refuse and fail to pay, delay the payment of, and make inadequate payment of

homeowners and small business insurance claims from black majority ZIP Codes in the City of

Chicago; and

       v.      Discriminate on the basis of race in the processing and payment of homeowners

and small business insurance claims from black majority ZIP Codes in the City of Chicago.

       D.      Awarding reasonable attorney’s fees pursuant to 42 U.S.C. § 1988; and

       E.      For such other and further relief as the Court deems appropriate.




                                                18
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 19 of 55 PageID #:614




                                            COUNT III

                                 [Breach of Contract – Connectors]

       1.       At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.       At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate. Connectors is a closely held corporation, solely owned and operated by

Darryl Williams, its president. Darryl Williams is African-American.

       3.       Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement.

       4.       On or about January 4, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”). A copy of the Connectors

Policy is attached hereto as Exhibit “A”.

       5.       Under the terms of the Connectors Policy, State Farm insured Connectors against

loss or damage to the Premises, including water damage, equipment breakdown in the amount of

$400,000.00, plus loss of income for one year from date of loss, with a deductible in the amount

of $2,500.00.

       6. On January 10, 2017, while the Connectors Policy was in full force, there occurred a

below freezing weather event (the “Weather Event”) in Chicago, Illinois. One of the tenants,

Lynette Crawley, left a bathroom window open in Unit 2R during this Weather Event.

       7.       As a result of the Weather Event and the Lynette Crawley’s action, the Premises

suffered loss and damage, and Connectors filed a corresponding claim with State Farm to which



                                                 19
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 20 of 55 PageID #:615




State Farm assigned Claim No. 13-0670-8L5, under which the pipes froze and burst, causing

damage to the walls, floors, ceilings, drywall, electric, heating and gas, pipelines, and water tank,

resulting in loss and damage in the amount of $86,155.00.

        8.      Claim No. 13-0670-8L5 also included Connectors’ claim for loss of rental income

for one year at the rate of $3,850.00 per month, for a total amount of $46,200.00.

        9.      Of the amount of $86,155.00 for damage to the walls, floors, ceilings, drywall,

electric, heating and gas, pipelines, and water tank claimed for State Farm Claim No. 13-0670-

8L5, State Farm has only paid the amount of $46,528.71, leaving a balance due of $39,626.29 for

damage to the walls, floors, ceilings, drywall, electric, heating and gas, pipelines, and water tank.

        10.     Of the amount of $46,200.00 for loss of rental income, State Farm only paid

$11,550.00, leaving a balance due of $34,650.00 for loss of rental income.

        11.     On August 4, 2017 Connectors submitted a Sworn Statement in Proof of Loss

(“Proof of Loss”) under State Farm Claim No. 13-0670-8L5 in the amount of $86,155.00 for

damage to the walls, floors, ceilings, drywall, electric, heating and gas, pipelines, and water tank

and loss of rental income for one year at the rate of $3,850.00 per month, for a total amount of

$46,200.00 for loss of rental income, for a total amount claimed under the Proof of Loss for State

Farm Claim No. 13-0670-8L5 in the amount of $132,355.00.

        12.     The Connectors Policy provides that loss will be payable 30 days following

receipt of proof of loss.

        13.     Accordingly, payment from State Farm was due on State Farm Claim No. 13-

0670-8L5 in the full amount of $132,355.00 on or before September 3, 2017.

        14.     Connectors has performed all conditions precedent under the Connectors Policy

on its part to be performed to be paid on State Farm Claim No. 13-0670-8L5.



                                                 20
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 21 of 55 PageID #:616




       15.     Despite Connector’s demands, State Farm has failed and refused to pay the

balance due of $39,626.29 for damage to the walls, floors, ceilings, drywall, electric, heating and

gas, pipelines, and water tank on State Farm Claim No. 13-0670-8L5.

       16.     Despite Connector’s demands, State Farm has failed and refused to pay the

balance due of $34,650.00 for loss of rental income on State Farm Claim No. 13-0670-8L5.

       17.     The total amount unpaid under on State Farm Claim No. 13-0670-8L5 for damage

to the walls, floors, ceilings, drywall, electric, heating and gas, pipelines, and water tank and for

loss of rental income is $74,276.29.

       18.     State Farm is liable to pay Connectors the balance due of $74,276.29 on State

Farm Claim No. 13-0670-8L5, with interest thereon at the rate of 5% annually from September

3, 2017, plus interest and costs.

       WHEREFORE, Connectors demands judgment against State Farm in the amount of

$74,276.29, with interest thereon at the rate of 5% annually from September 3, 2017 plus interest

and costs.

                                              COUNT IV

                                    [Breach of Contract - Connectors]

       1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.      At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate. The president and principal of Connectors is Darryl Williams, who is

African-American.




                                                   21
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 22 of 55 PageID #:617




        3.     Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement.

        4.     On or about January 4, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”). A copy of the Connectors is

attached hereto as Exhibit “A”. Under the terms of the Connectors Policy, State Farm insured

Connectors against loss or damage to the Premises, including water damage, equipment

breakdown, and loss of income in the amount of $400,000.00, with a deductible in the amount of

$2,500.00.

        5.     On January 10, 2017, while the Connectors Policy was in full force, there

occurred a below freezing weather event (the “Weather Event”) in Chicago, Illinois. One of the

tenants, Lynette Crawley, left a bathroom window open in Unit 2R during this Weather Event.

        6.     As a result of the Weather Event and the Lynette Crawley’s action, the Premises

suffered loss and damage, and Connectors filed a second corresponding claim with State Farm to

which State Farm assigned Claim No. 13-1390-8S1, under which the boilers were damaged by

water from the burst pipes, causing the boilers to be submerged in water, rusted and inoperable,

all of which resulted in loss and damage in the amount of $60,000.00.

        7.     Connectors submitted a Sworn Statement in Proof of Loss in the amount of

$60,000.00 minus a $5,000.00 deductible, for a total amount of $55,000.00 for State Farm Claim

No. 13-1390-8S1, receipt of which was acknowledged by State Farm on September 5, 2017.

        8.     State Farm Claim No. 13-1390-8S1 has neither been paid nor denied by State

Farm.




                                                22
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 23 of 55 PageID #:618




        9.      The Connectors Policy provides that loss will be payable 30 days following

receipt of proof of loss.

        10.     Accordingly, payment from State Farm was due on State Farm Claim No. 13-

1390-8S1 on or before October 5, 2017.

        11.     Connectors has performed all conditions precedent under the Connectors Policy

on its part to be performed to be paid on State Farm Claim No. 13-1390-8S1.

        12.     Despite Connector’s demands, State Farm has failed and refused to pay the

amount due of $55,000.00 on State Farm Claim No. 13-1390-8S1.

        13.     State Farm is liable to pay Connectors the balance due of $55,000.00 on State

Farm Claim No. 13-1390-8S1, with interest thereon at the rate of 5% annually from October 5,

2017, plus interest and costs.

        WHEREFORE, Connectors demands judgment against State Farm in the amount of

$55,000.00, with interest thereon at the rate of 5% annually from October 5, 2017, plus interest

and costs.

                                             COUNT V

                                 [Breach of Contract - Connectors]

        1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

        2.      At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate. The president and principal of Connectors is Darryl Williams, who is

African-American.




                                                 23
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 24 of 55 PageID #:619




        3.      Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement.

        4.      On or about January 4, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”). A copy of the Connectors

Policy is attached hereto as Exhibit “A”. Under the terms of the Connectors Policy, State Farm

insured Connectors against loss or damage to the Premises, including water damage, equipment

breakdown, and loss of income in the amount of $400,000.00, with a deductible in the amount of

$2,500.00.

        5.      On January 10, 2017, while the Connectors Policy was in full force, there

occurred a below freezing weather event (the “Weather Event”) in Chicago, Illinois. One of the

tenants, Lynette Crawley, left a bathroom window open in Unit 2R during this Weather Event.

        6.      As a result of the Weather Event and the Lynette Crawley’s action, the Premises

suffered loss and damage, and Connectors filed a third corresponding claim with State Farm to

which State Farm assigned Claim No. 13-1390-8N9 under which a commercial unit experienced

loss and damage to pipes, shelves, equipment, ceilings, walls, flooring, radiators, gas lines,

collapse of front of store, electric lines were down and hanging, gas lines were down all of which

resulted in loss and damage in the amount of $116,955.00.

        7.      On August 11, 2017 Connectors submitted a Sworn Statement in Proof of Loss in

the amount of $116,955.00 minus a $5,000.00 deductible, for a total amount of $111,955.00, for

State Farm Claim No. 13-1390-8N9.

        8.      The Connectors Policy provides that loss will be payable 30 days following

receipt of proof of loss.



                                                 24
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 25 of 55 PageID #:620




       9.      Accordingly, payment from State Farm was due on State Farm Claim No. 13-13-

1390-8N9 on or before September 10, 2017.

       10.      Pursuant to letter dated October 3, 2017 State Farm purported to deny State Farm

Claim No. 13-1390-8N9.

       11.     Connectors has performed all conditions precedent under the Connectors Policy

on its part to be performed to be paid on State Farm Claim No. 13-1390-8N9.

       12.     Despite Connector’s demands, State Farm has failed and refused to pay the

amount due of $111,955.00 on State Farm Claim No. 13-1390-8N9.

       14.     State Farm is liable to pay Connectors the balance due of $111,955.00 on State

Farm Claim No. 13-1390-8N9, with interest thereon at the rate of 5% annually from September

10, 2017, plus interest and costs.

       WHEREFORE, Connectors demands judgment against State Farm in the amount of

$111,955.00, with interest thereon at the rate of 5% annually from September 10, 2017 plus

interest and costs.

                                            COUNT VI

                                 [Breach of Contract - Connectors]

       1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.      At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate. The president and principal of Connectors is Darryl Williams, who is

African-American.




                                                 25
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 26 of 55 PageID #:621




        3.      Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement.

        4.      On or about January 4, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”). A copy of the Connectors

Policy is attached hereto as Exhibit “A”. Under the terms of the Connectors Policy, State Farm

insured Connectors against loss or damage to the Premises, including water damage, equipment

breakdown, and loss of income in the amount of $400,000.00, with a deductible in the amount of

$2,500.00.

        5.      On April 17, 2017, while the Connectors Policy was in full force, there occurred a

hail event (the “Hail Event”) in Chicago, Illinois.

        6.      As a result of the Hail Event, the Premises suffered loss and damage, and

Connectors filed a corresponding claim with State Farm to which State Farm assigned Claim No.

13-1390-8F4 under which the third floor roof had a hole caused, ceiling, drywall were damaged

which resulted in loss and damage in the amount of $17,500.00.

        7.      On August 11, 2017 Connectors submitted a Sworn Statement in Proof of Loss in

the amount of $17,500.00 for State Farm Claim No. 13-1390-8F4.

        8.      The Connectors Policy provides that loss will be payable 30 days following

receipt of proof of loss.

        9.      Accordingly, payment from State Farm was due on State Farm Claim No. 13-13-

1390-8F4 on before September 10, 2017.

        10.     Pursuant to letter dated September 5, 2017 State Farm purported to deny State

Farm Claim No. 13-1390-8F4.



                                                 26
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 27 of 55 PageID #:622




       11.     Connectors has performed all conditions precedent under the Connectors Policy

on its part to be performed to be paid on State Farm Claim No. 13-1390-8F4.

       12.     Despite Connector’s demands, State Farm has failed and refused to pay the

amount due of $17,500.00 on State Farm Claim No. 13-1390-8F4.

       13.     State Farm is liable to pay Connectors the amount due of $17,500.00 on State

Farm Claim No. $17,500.00, with interest thereon at the rate of 5% annually from September 10,

2017, plus interest and costs.

       WHEREFORE, Connectors demands judgment against State Farm in the amount of

$17,500.00, with interest thereon at the rate of 5% annually from September 10, 2017 plus

interest and costs.

                                            COUNT VII

                                 [Breach of Contract - Connectors]

       1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.      At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate. The president and principal of Connectors is Darryl Williams, who is

African-American.

       3.      Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement.

       4.      On or about January 4, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”). A copy of the Connectors



                                                 27
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 28 of 55 PageID #:623




Policy is attached hereto as Exhibit “A”. Under the terms of the Connectors Policy, State Farm

insured Connectors against loss or damage to the Premises, including water damage, equipment

breakdown, and loss of income in the amount of $400,000.00, with a deductible in the amount of

$2,500.00.

        5.      On April 23, 2017, while the Connectors Policy was in full force, there occurred a

theft at the Premises.

        6.      As a result of the theft, the Premises suffered loss and damage, and Connectors

filed a corresponding claim with State Farm to which State Farm assigned Claim No. 13-1390-

8K9 under which Connectors suffered loss and damage in the amount of $48,500.00.

        7.      On August 11, 2017 Connectors submitted a Sworn Statement in Proof of Loss in

the amount of $48,500.00 minus a $5,000.00 deductible, for a total amount of $43,500.00 for

State Farm Claim No. 13-1390-8K9.

        8.      The Connectors Policy provides that loss will be payable 30 days following

receipt of proof of loss.

        9.      Accordingly, payment from State Farm was due on State Farm Claim No. 13-

1390-8K9 on before September 10, 2017.

        10.     Pursuant to letter dated September 5, 2017 State Farm purported to deny State

Farm Claim No. 13-1390-8K9.

        11.     Connectors has performed all conditions precedent under the Connectors Policy

on its part to be performed to be paid on State Farm Claim No. 13-1390-8K9.

        12.     Despite Connector’s demands, State Farm has failed and refused to pay the

amount due of $17,500.00 on State Farm Claim No. 13-1390-8K9.




                                                28
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 29 of 55 PageID #:624




       13.     State Farm is liable to pay Connectors the amount due of $43,500.00 on State

Farm Claim No. 13-1390-8K9, with interest thereon at the rate of 5% annually from September

10, 2017, plus interest and costs.

       WHEREFORE, Connectors demands judgment against State Farm in the amount of

$43,500.00, with interest thereon at the rate of 5% annually from September 10, 2017 plus

interest and costs.

                                           COUNT VIII

                                 [Breach of Contract - Connectors]

       1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.      At all times pertinent hereto, Connectors was a domestic business corporation,

licensed to do business in the State of Illinois. Connectors manages and owns residential and

commercial real estate. The president and principal of Connectors is Darryl Williams, who is

African-American.

       3.      Connectors is, and at all times pertinent hereto was, the title owner of the

residential property at 622-624 West 79th Street, Chicago, Illinois 60620 (the “Premises”), which

includes two commercial spaces, six apartment units and a basement.

       4.      On or about January 4, 2017 State Farm executed and delivered to Connectors its

insurance Policy No. 93-GQ-Z610-71 (the “Connectors Policy”). A copy of the Connectors

Policy attached hereto as Exhibit “A”. Under the terms of the Connectors Policy, State Farm

insured Connectors against loss or damage to the Premises, including water damage, equipment

breakdown, and loss of income in the amount of $400,000.00, with a deductible in the amount of

$2,500.00.



                                                 29
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 30 of 55 PageID #:625




       5.      On February 4, 2017, while the Connectors Policy was in full force, there

occurred a theft and vandalism at the Premises. As a result of the theft and vandalism,

Connectors suffered loss and damage at the Premises under which copper pipes, copper

plumbing fixtures, fire alarm system, fire extinguishers, lights, smoke detectors, carbon

monoxide detectors were stolen, second floor stairwell was vandalized, light bulbs were broken,

back and front doors were broken down and torn off the hinges, door in the apartment bedroom

was torn off the hinges, kitchen electric outlet was vandalized, 6 industrial heaters were stolen,

cabinets were torn down and stolen, ceilings and hallway were vandalized, the windows on the

second and third floor were broken, the walls were vandalized, the radiators on second and third

floors were torn off, and holes were made in the walls on the second floor, resulting in loss and

damage in the approximate amount of $120,000.00, and

       6.      Connectors filed a corresponding claim for theft and vandalism with State Farm to

which State Farm assigned State Farm Claim No. 13-0790-6C6.

       7.       Pursuant to letter dated October 3, 2017 State Farm purported to deny State Farm

Claim No. 13-0790-6C6.

       8.      Connectors has performed all conditions precedent under the Policy on its part to

be performed to be paid on State Farm Claim No. 13-0790-6C6.

       9.      Despite Connector’s demands, State Farm has failed and refused to pay the

amount due of $120,000.00 on State Farm Claim No. 13-0790-6C6.

       10.     State Farm is liable to pay Connectors the amount due of $120,000.00 on State

Farm Claim No. 13-0790-6C6, plus interest and costs.




                                                 30
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 31 of 55 PageID #:626




       WHEREFORE, Connectors demands judgment against State Farm in the amount of

$120,000.00, plus interest and costs.

                                               COUNT IX

                           [Breach of Duty to Defend and Indemnify]

       1-50. Plaintiffs repeat and reallege paragraphs 4-53 of Count I of this Amended

Complaint as and for paragraphs 1-50 of Count IX.

       51.     The unrepaired loss and damage arising out of the Weather Event and State

Farm’s unreasonable delay and failure to pay the Connectors’ Claims triggered the both judicial

and administrative actions against Connectors in the following actions: (1) City of Chicago v.

The Connectors Realty Group Corporation, et al., docketed in the Circuit Court of Cook County,

Illinois Case No. 2017 M1-400127; (2) City of Chicago v. Connect Realty Group, et al.,

docketed in the City of Chicago, Department of Administrative Hearings as Case No.

16BT05507A; and (3) City of Chicago v. The Connectors Realty Group Corporation, et al.,

docketed in the City of Chicago, Department of Administrative Hearings as Case No.

17BT00771A (collectively, the “Actions”). On February 7, 2018 Connectors tendered the

Actions to State Farm and demanded that State Farm defend and indemnify Connectors in the

Actions, which State Farm failed and refused to do.

       52.     The Actions allege inter alia that the Premises constitutes a “public nuisance.”

       53.     The Connectors Policy at Section II, Liability Coverages, Coverage L, requires

State Farm must defend “any ‘suit’ seeking…damages …for…property damage...”

       54.     State Farm failed to defend the Actions. State Farm failed to reserve any rights it

may have purportedly had regarding the Actions. State Farm failed to file a declaratory

judgment action seeking that there was no coverage for the Actions.



                                                31
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 32 of 55 PageID #:627




       55.     An insurer taking the position that a complaint potentially alleging coverage is not

covered by a policy which provides that the insurer has the right and duty to defend any claims

brought against the insured cannot simply refuse to defend the insured. It must defend the suit

under a reservation of rights or seek a declaratory judgment that there is no coverage. If the

insurer fails to do this, it is estopped from later raising policy defenses to coverage and is liable

for the award against the insured and the costs of the suit, because the duty to defend is broader

than the duty to pay.

       56.     State Farm is estopped from raising any defenses under the Connectors Policy to

coverage.

       57.     Connectors incurred defense costs in the amount of tens of thousands of dollars

and a like amount in judgments and fines payable to the City of Chicago.

       WHEREFORE, Connectors demands judgment against State Farm in the amount of the

defense costs, judgments and fines incurred in the Actions.

                                                 COUNT X

                                        [Breach of Contract - Nash]

       1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.      Since July, 2014 Nash has been the title owner of the property commonly known

as 12535 South Honore Street, Calumet Park, IL 60827 (the “Premises”) in Cook County,

Illinois and has resided there since January, 2015. Nash is African-American.

       3.      On or about August 1, 2017 State Farm issued to Nash a renewal certificate for

Homeowners Policy No. 13-EP-C974-7 (the “Nash Policy”) covering the Premises and it was in

full force and effect at all times pertinent hereto. A copy of the renewal certificate is attached



                                                  32
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 33 of 55 PageID #:628




hereto as Exhibit “B”. A copy of the Nash Policy is within the exclusive possession and control

of State Farm.

       4. On or about August 31, 2017 Nash listed the Premises for sale with Derrick Jackson II

(“Jackson”) at HomeSmart Connect, LLC (“HomeSmart”), neither of which are parties hereto.

       5. Jackson and HomeSmart, in turn, arranged for showings of the Premises through

Centralized Showing Service, also not a party hereto. Jackson and HomeSmart set up a lockbox

outside the Premises containing the keys to the Premises for licensed real estate agents to make

showings of the Premises to prospective buyers. At these times Nash would leave the Premises

until the showing was complete.

       6. On October 26, 2017, while the Policy was in full force and effect, Jackson and

HomeSmart, through Centralized Showing Service set up a showing of the Premises for 3:30

p.m. to 4:00 p.m. that afternoon. On that occasion, a party or parties unknown came to the

Premises for that showing, at which time Nash was not present at the Premises.

       7. Upon Nash’s return to the Premises later that evening Nash discovered a theft (the

“theft”) of personal property in the amount of $46,756.99. Nash immediately telephoned the

Calumet Park Police Department, who sent an officer to the Premises.

       8.        As a result of the theft, Nash suffered loss and damage to personal property (the

“Loss”) at the Premises in the amount of $46,756.99.

       9. Nash reported the Loss to State Farm on or about October 27, 2017. State Farm

assigned Claim No.13-1903-D24 (the “Claim”) to the Loss.

       10.       On February 13, 2018 Nash submitted a Sworn Statement in Proof of Loss in the

amount of $46,756.99 to State Farm for State Farm Claim No. 13-1903-D24.




                                                 33
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 34 of 55 PageID #:629




       11.     The Nash Policy, Section I, Conditions, provides under “Loss Payment” that

“Loss will be payable 30 days after we receive your proof of loss...”

       12.     Accordingly, payment from State Farm was due on State Farm Claim No. 13-

1903-D24 on before March 15, 2018.

       13.      Pursuant to letter dated October 31, 2018 State Farm purported to deny State

Farm Claim No. 13-1903-D24.

       14.     Nash has performed all conditions precedent under the Policy on its part to be

performed to be paid on State Farm Claim No. 13-1903-D24.

       15.     Despite Nash’s demands, State Farm has failed and refused to pay the amount due

of $46,756.99 on State Farm Claim No. 13-1903-D24.

       16.     State Farm is liable to pay Connectors the amount due of $46,756.99 on State

Farm Claim No. 13-1903-D24, with interest thereon at the rate of 5% annually from March 15,

2018, plus interest and costs.

       WHEREFORE, Nash demands judgment against State Farm in the amount of

$46,756.99, with interest thereon at the rate of 5% annually from March 15, 2018 plus interest

and costs.

                                            COUNT XI

              [Violations of Fair Housing Act, 42 U.S.C. § 3604(a) and (b) – Nash]

       1.      At all times pertinent hereto, State Farm was an insurance company authorized to

do business, and doing business, in the State of Illinois.

       2.      State Farm maintains data regarding loss experience on its homeowners and small

business insurance organized by ZIP Code for the City of Chicago, Illinois. State Farm shields

this data from the public, and stores it in secured areas and by electronic means. State Farm



                                                 34
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 35 of 55 PageID #:630




considers this data a trade secret and has gone to great lengths to protect and safeguard its secret

status.

          3.   The vast majority of ZIP Codes are heavily predominated by only one racial

group.

          4.   State Farm utilizes this ZIP Code data to “redline” by ZIP Code homeowners and

small business insurance claims by treating as presumptively fraudulent claims from

policyholders residing in black-majority ZIP Codes on the South and West Sides of the City of

Chicago and south Cook County by processing such claims as presumed fraudulent through its

Special Investigations Unit, by denying legitimate claims from these black-majority ZIP Codes

for being purportedly fraudulent or for other pretextual reasons, by unreasonably delaying

payment of such legitimate claims, by underpaying such legitimate claims and by failing and

refusing to pay such legitimate claims.

          5.   State Farm’s treatment of such claims from black-majority ZIP Codes on the

South and West Sides of the City of Chicago and south Cook County as presumptively

fraudulent results in State Farm engaging racial discrimination by treating insurance claims filed

by blacks unequally from those filed by whites due to the race of the claimant.

          6.   Representative of State Farm’s racially discriminatory treatment of homeowners

and small business insurance claims in the City of Chicago and south Cook County is State

Farm’s treatment of claims filed by Plaintiffs.

          7.   Since July, 2014 Nash has been the title owner of the property commonly known

as 12535 South Honore Street, Calumet Park, IL 60827 (the “Premises”) in Cook County,

Illinois and has resided there since January, 2015. Nash is African-American.




                                                  35
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 36 of 55 PageID #:631




       8.        On or about August 1, 2017 State Farm issued to Nash a renewal certificate for

Homeowners Policy No. 13-EP-C974-7 (the “Nash Policy”) covering the Premises and it was in

full force and effect at all times pertinent hereto. A copy of the renewal certificate is attached

hereto as Exhibit “B”. A copy of the Nash Policy is within the exclusive possession and control

of State Farm.

       9. On or about August 31, 2017 Nash listed the Premises for sale with Derrick Jackson II

(“Jackson”) at HomeSmart Connect, LLC (“HomeSmart”), neither of which are parties hereto.

       10. Jackson and HomeSmart, in turn, arranged for showings of the Premises through

Centralized Showing Service, also not a party hereto. Jackson and HomeSmart set up a lockbox

outside the Premises containing the keys to the Premises for licensed real estate agents to make

showings of the Premises to prospective buyers. At these times Nash would leave the Premises

until the showing was complete.

       11. On October 26, 2017, while the Policy was in full force and effect, Jackson and

HomeSmart, through Centralized Showing Service set up a showing of the Premises for 3:30

p.m. to 4:00 p.m. that afternoon. On that occasion, a party or parties unknown came to the

Premises for that showing, at which time Nash was not present at the Premises.

       12. Upon Nash’s return to the Premises later that evening Nash discovered a theft (the

“theft”) of personal property in the amount of $46,756.99. Nash immediately telephoned the

Calumet Park Police Department, who sent an officer to the Premises.

       13.       As a result of the theft, Nash suffered loss and damage to personal property (the

“Loss”) at the Premises in the amount of $46,756.99.

       14. Nash reported the Loss to State Farm on or about October 27, 2017. State Farm

assigned Claim No.13-1903-D24 (the “Claim”) to the Loss.



                                                 36
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 37 of 55 PageID #:632




       15.      On February 13, 2018 Nash submitted a Sworn Statement in Proof of Loss in the

amount of $46,756.99 to State Farm for State Farm Claim No. 13-1903-D24.

       16.     The Nash Policy, Section I, Conditions, provides under “Loss Payment” that

“Loss will be payable 30 days after we receive your proof of loss...”

       17.     Accordingly, payment from State Farm was due on State Farm Claim No. 13-

1903-D24 on before March 15, 2018.

       18.      Pursuant to letter dated October 31, 2018 (the “10/31/18 Denial Letter”) State

Farm purported to deny State Farm Claim No. 13-1903-D24.

       19.     Nash has performed all conditions precedent under the Policy on its part to be

performed to be paid on State Farm Claim No. 13-1903-D24.

       20.     Despite Nash’s demands, State Farm has failed and refused to pay the amount due

of $46,756.99 on State Farm Claim No. 13-1903-D24.

       21.     State Farm is liable to pay Connectors the amount due of $46,756.99 on State

Farm Claim No. 13-1903-D24, with interest thereon at the rate of 5% annually from March 15,

2018, plus interest and costs.

       22.     As part of State Farm’s processing of the Claim, Nash was contacted by attorney

Peter Alfieri, attorney and agent for State Farm. Mr. Alfieri sent Nash correspondence dated

April 10, 2018 requesting certain documentation, including bank statements and income tax

returns, and requiring that Nash appear at an examination under oath at his office. Nash had

never been asked by anyone for these documents before.

       23. Nash had a numerous telephone and in-person conversations with Mr. Alfieri.

Nash’s first such conversation was on April 24, 2018 at an in-person meeting with Mr. Alfieri,

who was in the reception area behind an open receptionist’s window and Nash, who was in the



                                                37
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 38 of 55 PageID #:633




lobby at Mr. Alfieri’s office at 70 West Madison Street, Suite 2101, Chicago, Illinois 60602. At

that time and place they had the following conversation:

       Mr. Alfieri: “Do you have the papers I requested?”

       Antoine Nash: “Yes, but I have a question. I said these are sensitive documents. I will

only allow you to look at them while I’m present. We can go over them together.”

       Mr. Alfieri: (Laughter) “Oh, so you’re refusing to give me the documents.”

       Antoine Nash: “No, I’m not refusing, but I don’t feel comfortable leaving my personal

information with you.”

       Mr. Alfieri: (Laughter) “Okay, that’s just perfect. Your claim will be denied.”

       Antoine Nash: “I was under the impression you were here to help, not harm. Why do I

have to turn over my personal records?”

       Mr. Alfieri: (Laughter) “Because you filed a bankruptcy. We need to know your

financial situation to see if you’re in a financial hardship.”

       Antoine Nash: “A financial hardship. What does that mean?”

       Mr. Alfieri: “If you’re in a financial hardship you’ll commit fraud and file a false claim.”

       Antoine Nash: “File a false claim? Commit fraud? Just because I’m having a financial

hardship doesn’t mean I’ll commit fraud or do something illegal.”

       Mr. Alfieri started to walk away from the receptionist’s window back towards his offices.

       Antoine Nash: “What am I supposed to do now?”

       Mr. Alfieri: “Are you refusing to give me these documents?”

       Antoine Nash: “No. But I don’t feel comfortable leaving them with you. Do I need to

get a lawyer?”

       Mr. Alfieri (as he was walking away): “Do whatever you want to do.”



                                                  38
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 39 of 55 PageID #:634




          24.    Nash had several other conversations between April 24, 2018 through the

beginning of September 2018 with Mr. Alfieri during which Mr. Alfieri laughed and called Nash

a liar. During the course of these conversations Mr. Alfieri also said, “It’s taking you six weeks

to get the documents it would take me two days to get. It’s laughable.” Mr. Alfieri also said in

reference to the requested documents, “I don’t believe you have them. I don’t believe they

exist.”

          25. Nash gave Mr. Alfieri all the requested documents by July, 2018. Mr. Alfieri took

Nash’s examination under oath on August 8, 2018.

          26.    On October 31, 2018 pursuant to the 10/31/18 Denial Letter purported to deny

State Farm Claim No. 13-1903-D24 inter alia on the purported basis of fraud, exactly as Peter

Alfieri predicted on April 24, 2018, six months previously and before either Peter Alfieri or State

Farm had laid eyes on a single document produced by Nash or had taken Nash’s examination

under oath.

          27. To the best of Nash’s knowledge, State Farm never talked to Jackson, HomeSmart,

the real estate agent that did the showing on October 26, 2017, or the Calumet Park Police

Department in reference to the Loss.

          28.    State Farm’s targeting of claims by treating as presumptively fraudulent claims

from policyholders residing in black-majority ZIP Codes on the South and West Sides of the

City of Chicago and south Cook County by processing such claims as presumed fraudulent

through its Special Investigations Unit, by denying legitimate claims from these black-majority

ZIP Codes for being purportedly fraudulent or for other pretextual reasons, by unreasonably

delaying payment of such legitimate claims, by underpaying such legitimate claims and by

failing and refusing to pay such legitimate claims is confirmed by the fulfillment by State Farm



                                                 39
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 40 of 55 PageID #:635




of Mr. Alfieri’s prediction that Nash’s claim would be denied as fraudulent before either Peter

Alfieri or State Farm had laid eyes on a single document produced by Nash or had taken Nash’s

examination under oath.

       29.     State Farm’s targeting of such claims by ZIP Code and its intention thereby to

discriminate on the basis of race in its treatment of claims of policyholders from black-majority

ZIP Codes in the City of Chicago is also confirmed by an analysis of performed by R. Hasegawa

and A. Wyner, The Wharton School of the University of Pennsylvania, on statistical evidence

from the Illinois Department of Insurance. They conclude based upon an analysis that the odds

that a property insurance claim remains outstanding and unpaid at the end of the calendar year in

a ZIP Code with a 75% black population is 23% higher than a claim made in a ZIP Code with a

25% black population with comparable median incomes. While this analysis was performed on

ZIP Code-level data on property insurance claims made upon all companies authorized to write

homeowner’s insurance in the State of Illinois, State Farm has the largest market share of the

homeowner’s insurance market in the City of Chicago.

       30.     Pursuant to its practice of treating claims from black majority ZIP Codes as

presumptively fraudulent, State Farm, did, on information and belief, in fact, process State Farm

Claim No. 13-1903-D24 as presumptively fraudulent through the Special Investigations Unit.

The Special Investigation Unit's official responsibilities are limited to investigation of purported

claims of fraud. In other words, instead of investigating State Farm Claim No. 13-1903-D24,

State Farm initiated an investigation of Nash for insurance fraud.

       31.     Other racially discriminatory conduct of State Farm included both the overly

intrusive claims investigation of Nash in requiring his submission of bank statements and income

tax returns and other sensitive documents, and the taking of his examination under oath. Upon



                                                 40
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 41 of 55 PageID #:636




information and belief African-Americans are subject to these procedures at a much higher rate

than whites.

       32.     Further racially discriminatory conduct of State Farm included the failure to

conduct reasonable investigations, given that State Farm upon information and belief conducted

no investigation of the theft. Upon information and belief African-Americans are subject to such

failure to investigate at a much higher rate than whites.

       33.     But for the racially discriminatory conduct of State Farm, the Claim would have

been paid in full.

       34.     Title VIII of the Civil Rights Act of 1968 (the “Fair Housing Act”), 42 U.S.C.

U.S.C. §3604(a) and (b) provides, in pertinent part, as follows:

               As made applicable by section 3603 of this title and except as
               exempted by sections 3603(b) and 3607 of this title, it shall be
               unlawful—

               (a) To refuse to sell or rent after the making of a bona fide offer, or
               to refuse to negotiate for the sale or rental of, or otherwise make
               unavailable or deny, a dwelling to any person because of race,
               color, religion, sex, familial status, or national origin.

               (b) To discriminate against any person in the terms, conditions, or
               privileges of sale or rental of a dwelling, or in the provision of
               services or facilities in connection therewith, because of race,
               color, religion, sex, familial status, or national origin.


       35.     24 C.F.R. § 100.70, promulgated thereunder, provides, in pertinent part, as

follows:

               ***

               (b) It shall be unlawful, because of race, color, religion, sex,
               handicap, familial status, or national origin, to engage in any
               conduct relating to the provision of housing or of services and
               facilities in connection therewith that otherwise makes unavailable
               or denies dwellings to persons.

               ***
                                                 41
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 42 of 55 PageID #:637




                 (d) Prohibited activities relating to dwellings under paragraph (b)
                 of this section include, but are not limited to:

                 ***

                 (4) Refusing to provide…property or hazard insurance for
                 dwellings or providing such…insurance differently because of
                 race, color, religion, sex, handicap, familial status, or national
                 origin.

        36. Because of Antoine Nash’s race, State Farm refused to pay State Farm Claim No.

13-1903-D24 for which Antoine Nash was entitled to be paid.

        37.      State Farm handled the Connectors’ Claims differently because of Antoine Nash’s

race.

        38.      The different handling of State Farm Claim No. 13-1903-D24 and the failure of

State Farm to pay the State Farm Claim No. 13-1903-D24 constituted the providing of property

insurance “differently because of race.”

        WHEREFORE, Nash demands judgment against State Farm as follows:

        A.       Judgment for actual damages under the Fair Housing Act, 42 U.S.C. § 3613(c)(1)

in the amount of $46,756.99, with interest thereon at the rate of 5% annually from March 15,

2018 plus interest and costs

        B.       Judgment for punitive damages under 42 U.S.C. § 3613(c)(1) in the amount of

$250,000,000 or such other sum as will deter future violations of the Fair Housing Act, 42

U.S.C. U.S.C. §3604(a) and (b);

        C.       A permanent injunction under 42 U.S.C. § 3613(c)(1) restraining State Farm from

continuing to:

        i.       Treat homeowners and small business insurance claims from black majority ZIP

Codes in the City of Chicago and south Cook County as presumptively fraudulent;

                                                   42
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 43 of 55 PageID #:638




       ii.    Process homeowners and small business insurance claims from black majority

ZIP Codes in the City of Chicago and south Cook County as presumptively fraudulent through

State Farm’s Special Investigations Unit;

       iii.   Deny legitimate homeowners and small business insurance claims from black

majority ZIP Codes in the City of Chicago and south Cook County as being purportedly

fraudulent;

       iv.    Refuse and fail to pay, delay the payment of, and make inadequate payment of

homeowners and small business insurance claims from black majority ZIP Codes in the City of

Chicago and south Cook County; and

       v.     Discriminate on the basis of race in the processing and payment of homeowners

and small business insurance claims from black majority ZIP Codes in the City of Chicago.

       D.     Awarding reasonable attorney’s fees and costs pursuant to 42 U.S.C. §

3613(c)(2); and

       E.     For such other and further relief as the Court deems appropriate.

                                            COUNT XII

                      [Violations of 42 U.S.C. §§ 1981 and 1982 – Nash]

       1-33. Plaintiffs repeat and reallege paragraphs 1-33 of Count XI of this Amended

Complaint as and for paragraphs 1- of Count XII.

       34.    42 U.S.C. § 1981 provides as follows:

              (a) Statement of equal rights
              All persons within the jurisdiction of the United States shall have
              the same right in every State and Territory to make and enforce
              contracts…

              (b) "Make and enforce contracts" defined
              For purposes of this section, the term "make and enforce contracts"
              includes the making, performance, modification, and termination

                                               43
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 44 of 55 PageID #:639




               of contracts, and the enjoyment of all benefits, privileges, terms,
               and conditions of the contractual relationship.

               (c) Protection against impairment
               The rights protected by this section are protected against
               impairment by nongovernmental discrimination and impairment
               under color of State law.

       35.     42 U.S.C. § 1982 provides as follows:

               All citizens of the United States shall have the same right, in every
               State and Territory, as is enjoyed by white citizens thereof to
               inherit, purchase, lease, sell, hold, and convey real and personal
               property.


       36.     But for the racially discriminatory conduct of State Farm, State Farm Claim No.

13-1903-D24 would have been paid in full.

       37.     State Farm, by and through its racially discriminatory conduct as set forth

hereinabove, has intentionally discriminated against Nash the latter by virtue of his being

African-American, a member of a racial minority, and the Premises being located in a black-

majority ZIP Code in south Cook County in violation of 42 U.S.C. § 1981. State Farm thereby

prevented Nash from enjoying the benefits, privileges, terms, and conditions of the contractual

relationship between Nash and State Farm under the Nash Policy that would have been enjoyed

by white citizens, in violation of 42 U.S.C. §§ 1981 and 1982.

        38.    As a direct and proximate result of State Farm’s racially discriminatory conduct

as set forth hereinabove, Nash has been damaged in the amount of $46,756.99.

       WHEREFORE, Nash demands judgment against State Farm as follows:

       A.      Judgment in the amount of $46,756.99, with interest thereon at the rate of 5% plus

interest and costs;




                                                44
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 45 of 55 PageID #:640




       B.      Judgment for punitive damages in the amount of $250,000,000 or such other sum

as will deter future violations of 42 U.S.C. §§ 1981 and 1982;

       C.      A permanent injunction under 42 U.S.C. §§ 1981 and 1982 restraining State Farm

from continuing to:

       i.      Treat homeowners and small business insurance claims from black majority ZIP

Codes in the City of Chicago and south Cook County as presumptively fraudulent;

       ii.     Process homeowners and small business insurance claims from black majority

ZIP Codes in the City of Chicago and south Cook County as presumptively fraudulent through

State Farm’s Special Investigations Unit;

       iii.    Deny legitimate homeowners and small business insurance claims from black

majority ZIP Codes in the City of Chicago and south Cook County as being purportedly

fraudulent;

       iv.     Refuse and fail to pay, delay the payment of, and make inadequate payment of

homeowners and small business insurance claims from black majority ZIP Codes in the City of

Chicago and south Cook County; and

       v.      Discriminate on the basis of race in the processing and payment of homeowners

and small business insurance claims from black majority ZIP Codes in the City of Chicago and

south Cook County.

       D.      Awarding reasonable attorney’s fees pursuant to 42 U.S.C. § 1988; and

       E.      For such other and further relief as the Court deems appropriate.




                                               45
      Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 46 of 55 PageID #:641




                                               COUNT XIII

                                               [Class Action]

                                [Violations of 42 U.S.C. Sec. 1981 – Nash]

         1.     Plaintiffs repeat and reallege the allegations of Counts I through XII of this

Complaint as if fully set forth herein.

         2.     Pursuant to Fed. R. Civ. P. 23 and 28 U.S.C. Sec. 1711 et seq. Plaintiffs bring this

action on their own behalf and on behalf of a Class of similarly-situated persons injured by State

Farm’s racially discriminatory conduct in the handling of insurance claims. The Class is defined

as:

         All African-Americans in the State of Illinois who reside in majority African-

         American ZIP Code areas and have submitted claims for property loss and

         damage to State Farm during the period 2015 to the present.

         3.     Excluded from the Class is State Farm and its subsidiaries and affiliates; all

persons who make a timely election to be excluded from the Class; government entities; and the

Judge(s) to whom this case is assigned and any immediate family members thereof.

         4.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

         5. Numerosity – Fed. R. Civ. P. 23(a)(1). The members of the Class are so numerous

that individual joinder of all Class members is impracticable. In Cook County, Illinois, alone,

the number of potential class members with unpaid claims at the end of calendar year 2015 is

3018, and the number for 2016 is 2688. The precise number of Class members and their

addresses are unknown to Plaintiffs, but are readily available from the records of State Farm.



                                                 46
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 47 of 55 PageID #:642




        6. Commonality and Predominance - Fed. R. Civ. P. 23(a)(2). This action involves

common questions of law and fact, which predominate over any questions affecting individual

Class members, including, but not limited to:

        a.     Whether State Farm subjected its insured to overly intrusive claims investigation

requiring the submission of bank statements and income tax returns and other sensitive

documents;

        b.     Whether State Farm subjected its insured to the taking of his examination under

oath;

        c.     Whether State Farm refused to pay without conducting a reasonable investigation

based on all available information as required by Section 154.6(h) of the Illinois Insurance Code,

215 ILCS 5/154.6(h);

        d.     Whether State Farm failed to provide its insured in the case of a denial of a claim

a reasonable and accurate explanation of the basis in the insurance policy or applicable law for

such denial as required by Section 154.6(n) of the Illinois Insurance Code, 215 ILCS 5/154.6(n);

        e.     Whether State Farm conducted any acts constituting improper claims practices

under Section 154.6 of the Illinois Insurance Code, 215 ILCS 5/154.6;

        f.     Whether State Farm accused its insured under a policy of homeowners’ insurance

of arson on the basis of a report stating that the cause of the fire was undetermined;

        g.     Whether State Farm sent the insured’s claim to its Special Investigations Unit for

resolution;

        h.     Whether State Farm engaged an attorney to conduct an investigation of the

insured’s claim;




                                                 47
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 48 of 55 PageID #:643




       i.        Whether State Farm denied the insured’s claim on the basis of the Concealment or

Fraud provision in its policy;

       j.        Whether State Farm denied the insured’s claim on the basis of the Your Duties

After Loss provision in its policy;

       k.        Whether State Farm denied the insured’s claim relying on the fact that the insured

had filed for bankruptcy protection;

       l.        Whether State Farm denied the insured’s claim relying on the fact that the insured

was suffering from a financial hardship;

       m.        Whether State Farm sent its insured repeated requests for documents under the

Your Duties After Loss provision in its policy even after its insured submitted to State Farm all

the documents meeting the terms of the request that were in the insured’s possession;

       n.        Whether State Farm paid the insured’s claim within 30 days of submission of the

proof of loss;

       o.        Whether State Farm denied the insured’s claim on the basis of a pretextual claim

denial; and

       p.        Whether State Farm treated the insured’s claim as presumptively fraudulent as

being from a policyholder residing in black-majority ZIP Codes on the South and West Sides of

the City of Chicago or south Cook County by processing such claims as presumed fraudulent

through its Special Investigations Unit, by denying legitimate claims from these black-majority

ZIP Codes for being purportedly fraudulent or for other pretextual reasons, by unreasonably

delaying payment of such legitimate claims, by underpaying such legitimate claims and by

failing and refusing to pay such legitimate claims.




                                                 48
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 49 of 55 PageID #:644




        7.     Typical Claims - Fed. R. Civ. P. 23(a)(3). The claims of Plaintiffs are typical of

the Class. The Plaintiffs or their principals are African-American. Plaintiffs’ claims with State

Farm were either outright denied, left unpaid or only partially paid. Plaintiffs’ claims meet one

or more of the following criteria:

        a.     State Farm subjected the person insured to overly intrusive claims investigation

requiring the submission of bank statements and income tax returns and other sensitive

documents;

        b.     State Farm subjected the person insured to the taking of his examination under

oath;

        c.     State Farm refused to pay without conducting a reasonable investigation based on

all available information as required by Section 154.6(h) of the Illinois Insurance Code, 215

ILCS 5/154.6(h);

        d.     State Farm failed to provide its insured in the case of a denial of a claim a

reasonable and accurate explanation of the basis in the insurance policy or applicable law for

such denial as required by Section 154.6(n) of the Illinois Insurance Code, 215 ILCS 5/154.6(n);

        e.     State Farm conducted acts constituting improper claims practices under Section

154.6 of the Illinois Insurance Code, 215 ILCS 5/154.6;

        f.     State Farm sent the insured’s claim to its Special Investigations Unit for

resolution;

        g.     State Farm engaged an attorney to conduct an investigation of the insured’s claim;

        h.     State Farm denied the insured’s claim on the purported basis of the Concealment

or Fraud provision in its policy;




                                                49
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 50 of 55 PageID #:645




        i.     State Farm denied the insured’s claim on the purported basis of the Your Duties

After Loss provision in its policy;

        j.     State Farm denied the insured’s claim relying on the fact that the insured had filed

for bankruptcy protection;

        k.     State Farm denied the insured’s claim relying on the fact that the insured was

suffering from a financial hardship;

        l.     State Farm sent its insured repeated requests for documents under the Your Duties

After Loss provision in its policy even after its insured submitted to State Farm all the documents

meeting the terms of the request that were in the insured’s possession;

        m.     State Farm paid the insured’s claim within 30 days of submission of the proof of

loss;

        n.     State Farm denied the insured’s claim on the basis of a pretextual claim denial;

and

        o.     State Farm treated the insured’s claim as presumptively fraudulent as being from

a policyholder residing in black-majority ZIP Codes on the South and West Sides of the City of

Chicago or south Cook County by processing such claims as presumed fraudulent through its

Special Investigations Unit, by denying legitimate claims from these black-majority ZIP Codes

for being purportedly fraudulent or for other pretextual reasons, by unreasonably delaying

payment of such legitimate claims, by underpaying such legitimate claims and by failing and

refusing to pay such legitimate claims.

        8.     Adequacy of representation - Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

Class representatives because their interests do not conflict with the interests of the other

members of the Class they seek to represent; they have retained counsel competent and



                                                 50
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 51 of 55 PageID #:646




experienced in complex insurance litigation; and Plaintiffs intend to prosecute this action

vigorously. The Class’s interests will be fairly and adequately protected by Plaintiffs and their

counsel.

       9.      State Farm has acted, or refused to act, on grounds generally applicable to the

Class, thereby making appropriate declaratory, final injunctive and/or corresponding

compensatory or declaratory relief with respect to the Class as a whole.

       WHEREFORE, Plaintiffs, on their own behalf and on behalf of the other members of the

Class, request that the Court enter orders relief and enter judgment against State Farm as follows:

       a.      An order certifying the proposed Class and appointing Plaintiffs as Class

Representatives and their counsel as Class Counsel;

       b.      An order that State Farm be permanently enjoined from their racially

discriminatory conduct as alleged herein;

       c.      A judgment awarding Plaintiffs and the other Class members their actual damages

in an amount according to proof for State Farm’s unlawful conduct alleged under all claims

herein, entitling Plaintiffs and the other Class members to their actual damages;

       d.      A judgment awarding Plaintiffs and the other Class members actual and

compensatory damages under the Fair Housing Act, 42 U.S.C. U.S.C. § 3613(c)(1) and under 42

U.S.C. §§ 1981 and 1982 as a result of State Farm’s wrongful conduct as alleged herein;

       B.      A judgment awarding punitive damages under 42 U.S.C. U.S.C. § 3613(c)(1) and

42 U.S.C §§. 1981 and 1982 in the amount of $250,000,000 or such other sum as will deter

future violations of 42 U.S.C. U.S.C. § 3604(a) and (b) and 42 U.S.C. §§ 1981 and 1982;

       C.      A permanent injunction under 42 U.S.C. U.S.C. § 3613(c)(1) and under 42 U.S.C.

§§ 1981 and 1982 restraining State Farm from continuing to:



                                                51
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 52 of 55 PageID #:647




        i.      Treat homeowners and small business insurance claims from black majority ZIP

Codes in the City of Chicago and south Cook County as presumptively fraudulent;

        ii.     Process homeowners and small business insurance claims from black majority

ZIP Codes in the City of Chicago and south Cook County as presumptively fraudulent through

State Farm’s Special Investigations Unit;

        iii.    Deny legitimate homeowners and small business insurance claims from black

majority ZIP Codes in the City of Chicago and south Cook County as being purportedly

fraudulent;

        iv.     Refuse and fail to pay, delay the payment of, and make inadequate payment of

homeowners and small business insurance claims from black majority ZIP Codes in the City of

Chicago and south Cook County; and

        v.      Discriminate on the basis of race in the processing and payment of homeowners

and small business insurance claims from black majority ZIP Codes in the City of Chicago and

south Cook County.

        D.      Awarding reasonable attorney’s fees and costs pursuant to 42 U.S.C. § 1988

pursuant to 42 U.S.C. § 3613(c)(2); and

        E.      For such other and further relief as the Court deems appropriate.

                                               COUNT XIV

                               [Violations of 215 ILCS 5/155 – Connectors]

        1.      Plaintiffs repeat and reallege the allegations of Counts I-IX of this Complaint as if

fully set forth herein.

        2.      Although often requested to do so, State Farm has failed and refused, and still

fails and refuses, to pay Connectors the unpaid amount of the Claims or any part of it, to



                                                 52
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 53 of 55 PageID #:648




Connector’s damage in the amount of $422,231.29, with interest thereon, at the rate of 5%

annually.

       3.       215 ILCS 5/155 provides as follows:

               Sec. 155. Attorney fees. (1) In any action by or against a company
               wherein there is in issue the liability of a company on a policy or
               policies of insurance or the amount of the loss payable thereunder,
               or for an unreasonable delay in settling a claim, and it appears to
               the court that such action or delay is vexatious and unreasonable,
               the court may allow as part of the taxable costs in the action
               reasonable attorney fees, other costs, plus an amount not to exceed
               any one of the following amounts:
                       (a) 60% of the amount which the court or jury finds such
               party is entitled to recover against the company, exclusive of all
               costs;
                       (b) $ 60,000;
                       (c) the excess of the amount which the court or jury finds
               such party is entitled to recover, exclusive of costs, over the
               amount, if any, which the company offered to pay in settlement of
               the claim prior to the action.
                       (2) Where there are several policies insuring the same
               insured against the same loss whether issued by the same or by
               different companies, the court may fix the amount of the allowance
               so that the total attorney fees on account of one loss shall not be
               increased by reason of the fact that the insured brings separate suits
               on such policies.

       4.      State Farm’s refusal to pay, as set forth above, is vexatious and unreasonable as

proscribed by 215 ILCS 5/155.

       5.      State Farm is liable to pay Connectors the loss and damage he sustained as a

result of the Fire in the amount of at least $422,231.29, with interest thereon at the rate of 5%,

plus $60,000.00 plus attorney’s fees, and such other amounts as are allowed pursuant to 215

ILCS 5/155, and interest and costs.

       WHEREFORE, Connectors demands judgment against State Farm in the amount of at

least $422,231.29, with interest thereon at the rate of 5%, plus $60,000.00 plus attorney’s fees,

and such other amounts as are allowed pursuant to 215 ILCS 5/155, and interest and costs.

                                                 53
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 54 of 55 PageID #:649




                                               COUNT XIV

                                  [Violations of 215 ILCS 5/155 – Nash]

        1.      Plaintiffs repeat and reallege the allegations of Counts X-XII of this Complaint as

if fully set forth herein.

        2.      Although often requested to do so, State Farm has failed and refused, and still

fails and refuses, to pay Nash the unpaid amount of the Claim or any part of it, to Nash’s damage

in the amount of $46,756.99, with interest thereon, at the rate of 5% annually from March 15,

2018.

        3.       215 ILCS 5/155 provides as follows:

                Sec. 155. Attorney fees. (1) In any action by or against a company
                wherein there is in issue the liability of a company on a policy or
                policies of insurance or the amount of the loss payable thereunder,
                or for an unreasonable delay in settling a claim, and it appears to
                the court that such action or delay is vexatious and unreasonable,
                the court may allow as part of the taxable costs in the action
                reasonable attorney fees, other costs, plus an amount not to exceed
                any one of the following amounts:
                        (a) 60% of the amount which the court or jury finds such
                party is entitled to recover against the company, exclusive of all
                costs;
                        (b) $ 60,000;
                        (c) the excess of the amount which the court or jury finds
                such party is entitled to recover, exclusive of costs, over the
                amount, if any, which the company offered to pay in settlement of
                the claim prior to the action.
                        (2) Where there are several policies insuring the same
                insured against the same loss whether issued by the same or by
                different companies, the court may fix the amount of the allowance
                so that the total attorney fees on account of one loss shall not be
                increased by reason of the fact that the insured brings separate suits
                on such policies.

        4.      State Farm’s refusal to pay, as set forth above, is vexatious and unreasonable as

proscribed by 215 ILCS 5/155.




                                                 54
   Case: 1:19-cv-00743 Document #: 24 Filed: 06/25/19 Page 55 of 55 PageID #:650




       5.      State Farm is liable to pay Nash the loss and damage he sustained as a result of

the Fire in the amount of at least $46,756.99, with interest thereon at the rate of 5%, plus

$60,000.00 plus attorney’s fees, and such other amounts as are allowed pursuant to 215 ILCS

5/155, and interest and costs.

       WHEREFORE, Nash demands judgment against State Farm in the amount of at least

$46,756.99, with interest thereon at the rate of 5% from March 15, 2018, plus $60,000.00 plus

attorney’s fees, and such other amounts as are allowed pursuant to 215 ILCS 5/155, and interest

and costs.


                           PLAINTIFFS DEMAND TRIAL BY JURY.

                                                      Plaintiffs,
                                                      THE CONNECTORS REALTY GROUP
                                                      CORPORATION, DARRYL WILLIAMS
                                                      and ANTOINE NASH,


                                                      By: /s/ Kenneth Anspach
                                                                his attorney
KENNETH ANSPACH, ESQ.
ANSPACH LAW OFFICE
111 West Washington Street
Chicago, Illinois 60602
(312) 407-7888
ken@anspachlawoffice.com




                                                 55
